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                            DECLARATION OF DAVID D. BASSETT

                 1, David D. Bassett, hereby certify as follows:

                 I.     I am an associate of the firm of Kelley Drye & Warren LLP, which is

located at 101 Park Avenue, New York, New York 10178.

                2.      1 have been admitted to practice before the following courts on the dates

indicated:

                                                                          DATE ADMITTED

The State of New York                                                         7/30/2008

United States District Court for the Southern District of New York            41 1 412 0 0 9

                3.      I am an attorney in good standing and eligible to practice in the above-

referenced jurisdictions.

                4.      1 have not been suspended or disbarred in any j urisdiction, and no

disciplinary actions are pending against me.

                5.      A certificates of good standing for the United States District Court for the

Southern District of New York is attached hereto.

                6.      1 am familiar with the Local Rules of the United States District Court for

the District of Massachusetts and agree to abide by them.

                I declare under penalty of perjury , pursuant too U.9^7,j746, that the

foregoing is true and correct. Executed on March 12, 201


                                               By:




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CSDNY ( 11/99) Cmificate of Good Standing




                            United States District Court
                                             Southern District of New York

                                                                                Certificate of
                                                                                Good Standing

I, J. Michael McMahon, Clerk of this Court, certify that



                           DAVID D. BASSETT                                , Bar #        DB7321




                   was duly admitted to practice in this Court on



        APRIL 14th, 2009                       , and is in good standing



                                            as a member of the Bar of this Court.




                   500 Pearl Street
Dated at           New York, New York                      on          N1ARCIJ 9th, 2010




              J. Michael McMahon                           by
                             Clerk                                         Deputy Clerk
